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                                                                       2014 Dec-01 PM 10:04
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ALABAMA
                   HUNTSVILLE DIVISION



BEN FERRIS ex rel. UNITED STATES
OF AMERICA

                     Plaintiff,
    v.                                   Case No.: 5:13-cv-01041-CLS

AFOGNAK NATIVE CORPORATION
and ALUTIIQ, LLC

                     Defendants.




                  RESPONSE IN OPPOSITION
             TO DEFENDANTS’ MOTION TO DISMISS
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I.     INTRODUCTION

       Relator Ben Ferris brings this qui tam action on behalf of the United States

of America against Defendants Afognak Native Corporation and Alutiiq, LLC.

Defendants have violated the False Claims Act by taking advantage of the Small

Business Administration’s 8(a) Small Business Development Program to gain

lucrative government contracts to which they are not entitled.

       Defendants argue that certifying false statements to the government

regarding their very eligibility to participate in a government program, creating

sham companies, and intentionally breaking the laws governing the Small Business

Development Program constitute mere “regulatory violations” that do not give rise

a claim under the False Claims Act. Defendants also submit that Relator has failed

to plead his claims with the particularity required by Rule 9(b) of the Federal Rules

of Civil Procedure. Because the Amended Complaint explains in great detail the

Defendants’ scheme of using sham 8(a) entities to fraudulently obtain government

contracts for which they do not meet the eligibility requirements, both of

Defendants’ arguments fail.

     Defendants also submit that Relator should be denied leave to amend his

complaint. However, under Federal Rules of Civil Procedure Rule 15(a)(2), leave

to amend should be freely given when justice so requires and Defendants provide



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no valid reason why leave to amend should not be given or why such leave would

prejudice Defendants in any way. Therefore, should the Court find any portion of

Relator’s Amended Complaint insufficient, Relator respectfully requests that he be

granted leave to amend.

II.    STANDARD OF LAW

       “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A complaint is plausible on its face when “the plaintiff

pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id.

III.   ARGUMENT

       Defendants’ memorandum in support of their motion to dismiss can be

distilled into three arguments. First, Defendants argue that the conduct alleged in

the Amended Complaint does not constitute a violation of the False Claims Act.

Second, Defendants argue that the individual allegations of fraud in the Amended

Complaint are not plausible.       Finally, Defendants argue that the Amended

Complaint lacks the requisite particularity under Federal Rules of Civil Procedure

Rule 9(b).




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      As demonstrated herein, because the Amended Complaint contains a

detailed description and explanation of the Defendants’ fraudulent scheme of using

sham 8(a) corporations to obtain favorable government contracts under the Small

Business Administration’s 8(a) Small Business Development Program, all of these

arguments fail.

      A.     Defendants’ use of a fraudulent operational structure to exploit
             the 8(a) system violates the False Claims Act.

      Defendants misconstrue the notion of a “false claim” to argue that Relator

does not state a facially plausible claim. Defendants suggest that their flouting and

exploitation of the laws regulating the Small Business Development Program does

not violate the False Claims Act. Am. Br. in Supp. of Mot. to Dismiss, Doc. 39,

pp. 9-10. Defendants suggest that because their sham 8(a) entities exist on paper,

they comply with the regulations, regardless of whether those entities exist in fact

or perform any actual work, and further argue that Relators do not allege a size

requirement violation or management violation. Id. at 15. In fact, the Defendants’

narrow reading of a “false claim” is incorrect, its fraudulent conduct constitutes far

more than a “regulatory violation,” and the Amended Complaint pleads these

allegations in detail.

      As an initial matter, the regulations governing 8(a) small businesses

specifically state that misrepresentation of a participating small business’ 8(a)

eligibility gives rise to penalties under the False Claims Act.         13 C.F.R. §

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121.108(e)(2)1. Thus, the regulations that Defendants have violated contemplate

the False Claims Act as a remedy. Id. For this reason alone, Defendants’ Motion

to Dismiss should be denied.

      And, contrary to Defendants’ argument, the Amended Complaint does allege

how Defendants’ operational structure violates specific 8(a) regulations. Am. Br.

in Supp. of Mot. to Dismiss, Doc. 39, p. 14. First, 13 C.F.R. §124.109 recites the

special rules governing the participation of Alaska Native Corporations (ANCs) in

the 8(a) program. This section does not exempt ANCs from the other requirements

of 8(a) small businesses to the extent those requirements do not conflict with 13

C.F.R. §124.109. 13 C.F.R. §124.109(a). Under this section, an 8(a) business

must be a separate and distinct organized entity. The 8(a) business must meet the

size requirement applicable for its industry, but affiliation with “any other business

enterprise” will not be considered in determining size unless the small business has

obtained or is likely to obtain “a substantial unfair competitive advantage within an


1
  13 C.F.R. § 121.108 was updated to list the False Claims Act as a specific
remedy on June 28, 2013. Prior to that date, 13 C.F.R. § 121.108 stated that in
addition to other laws which may be applicable, 15 U.S.C. § 645(d) provides
severe criminal penalties for knowingly misrepresenting the small business size
status of a concern in connection with procurement programs.” 13 C.F.R. §
121.108 (emphasis added). It is clear, however, that the False Claims Act was a
remedy for misrepresentations regarding eligibility to participate in the Small
Business Development program prior to its specific listing in the regulations. See
U.S. ex rel. Longhi v. Lithium Power Technologies, Inc., 530 F. Supp. 2d 888, 899
(Jan. 3, 2008) (upholding an award and calculating damages under the False
Claims Act for a business’ fraudulent certification as to its small business status.).

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industry category.” 13 C.F.R. §124.109(c)(2)(iii)(emphasis added). An ANC 8(a)

business must be managed by “one or more individuals who possess sufficient

management experience . . . needed to run the concern,” and “members of the

management team, business committee members, officers, and directors are

precluded from engaging in any outside employment or other business interests

which conflict with the management of the concern or prevent the concern from

achieving the objectives set forth in its business development plan.” 13 C.F.R.

§124.109(c)(4)(i), (ii). The ANC-specific requirements also state that the entity

must certify “that it is a small business pursuant to the provisions of part 121 of

this title for the purpose of performing each individual contract which it is

awarded.” 13 C.F.R. §124.109(c)(2)(ii).      Section 121 provides that the False

Claims Act is a penalty for misrepresentation as to small business size status. 13

C.F.R. §121.108(e)(2).

      What Defendants certified to the government contradicts what exists in fact.

Defendants certified to the government that their 8(a) businesses meet the

regulatory requirements, i.e., that they are separate and distinct entities, with the

requisite number of employees and properly skilled managers in place. See 13

C.F.R. §124.109(a), (c)(2)(iii), (c)(4)). In fact, the entities exist only on paper,

have no real employees except those of their parent company, and have only

placeholder managers who have no knowledge of which small businesses they



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“manage,” and instead work solely to advance the interests of the Defendant parent

companies. See Am. Compl., p. 12-13, 15-26. As such, and as pled in the

Amended Complaint, Defendants’ conduct violates the 8(a) regulations because

they are not in fact separate and distinct entities, nor do they meet the size

standards or management requirements because they are — in effect — a single

company.2 See id. Specifically, for example, the Amended Complaint explains

that Defendants are required to submit an Annual Review Document for each of

their 8(a) entities to ensure each entity’s continued eligibility in the program and

certify that all information included in the update is “true, correct, and accurate.”

Id. at 12-13. The Defendants argue that they are absolved of wrongdoing merely

because these papers they presented to the government certified that they are in

compliance with the 8(a) regulations. Am. Br. in Supp. of Mot. to Dismiss, Doc.

39, p. 15. But this is precisely the point; Defendants’ certifications were false.

See, e.g., Am. Compl., Ex. 6.

      Defendants also misapply Griffin Industries, Inc. v. Irvin, 496 F.3d 1189

(11th Cir. 2007) to this case.   In Griffin, the court said that while it was required


2
  This detailed pleading is not “conclusory” as Defendants suggest. Am. Br. in
Supp. of Mot. to Dismiss, Doc. 39, pp. 11-12. For example, Relator does not
merely allege that the 8(a) business were “shams,” he also alleges in detail how
and why they were shams. Am. Compl., pp. 15-26. These are not conclusions;
they are the well-pleaded facts which go far beyond the “formulaic recitation of the
elements of a cause of action.” Twombly, 550 U.S. at 555. (a complaint need not
contain “detailed factual allegations”) (internal quotations omitted).

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to accept as true all facts as alleged in the complaint, it did “not require us to

ignore specific factual details of the pleading [contained in attached exhibits] in

favor of general or conclusory allegations.” Id. at 1205-1206. In Griffin, however,

the allegations in the complaint were rendered impossible to prove by the facts

contained in attached exhibits. Specifically, the plaintiff in Griffin, a chicken

plant, argued that it was singled out by the regulator defendants, and unfairly

treated in comparison with another similarly situated plant. Id. at 1200. Plaintiffs’

complaint made conclusory statements that it was similarly situated to the other

plant (a step necessary to establish its equal protection claim), but then attached

exhibits that demonstrated that it and the other plant were in fact wholly dissimilar.

Id. at 1206.

      This is not the case here. Relator’s Amended Complaint alleges in detail the

fraud pervading Defendants’ participation in the 8(a) Business Development

Program.       The exhibits attached to the Amended Complaint demonstrate the

illusory paper trail Defendants laid in their scheme to defraud the government, and

the Complaint explains use of that paper trail in the creation and maintenance of

the fraud.     See Am. Compl., pp. 17-26; see also, e.g., Am. Compl. Ex. 2(a)

(demonstrating that Defendants’ internal reports of operations and profits were

calculated based on work done by their eight business divisions, with no regard to




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any 8(a) entities).3 Unlike Griffin, the “facts” contained in the exhibits do not

render Relators’ well-pled causes of action impossible; rather, they support and

illustrate the fraud alleged in detail in the Complaint. In this case, Defendants in

essence ask this Court to choose the facts alleged in the Complaint it should

consider, and interpret those facts in a light most favorable to Defendants. See

Am. Br. in Supp. of Mot. to Dismiss, Doc. 39, p. 12 (asking the Court look to the

Complaint’s exhibits out of context and ignore the explanation of those exhibits

contained in the Complaint). This is not the standard. See Twombly, 550 U.S. at

555; Griffin, 496 F.3d at 1205-06. Defendants cannot ask the Court to ignore the

pleading of the Complaint and look solely to the exhibits out of context.

Accordingly, Relator’s Amended Complaint is properly pled and Defendants’

motion should be denied.

      B.     Each of Relator’s specific claims as to Defendants’
             misrepresentations to the government regarding their contract
             performance is plausible.

      Defendants next posit that none of their misrepresentations to the

government as to the performance of their government contracts is facially

plausible. These claims are not only plausible, but they are also pled with the

specificity required by Rule 9(b) of the Federal Rules of Civil Procedure as

discussed more fully below (see section III, (C), infra).

3
 Because the Amended Complaint was filed under seal, it does not have a
document number in the Court’s file on PACER.

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             1.    Defendants’ businesses did not comply with the 8(a)
                   program requirements, and their certifications as to their
                   compliance were fraudulent.

      As discussed in detail above in § III(A), Defendants exploited the 8(a) Small

Business Development Program and violated its accompanying regulations to gain

lucrative government contracts to which they were not otherwise entitled.

Moreover, Defendants falsely certified to the government that their 8(a) businesses

met industry size standards and were accordingly qualified to participate in the

program. In fact, the various 8(a) entities were all merely sham placeholders on

the required paperwork, and Defendants’ eight business divisions performed all

actual work on Defendants’ government contracts. Am. Compl., pp. 15-26. Such

false certifications give rise to a False Claims Act claim.              13 C.F.R.

§121.108(e)(2).

             2.    Defendants’ 8(a) entities are separate legal entities on paper
                   only.

      Defendants argue Relator’s claim is not plausible because he acknowledges

in his Amended Complaint that each of Defendant’s 8(a) subsidiaries are “legal

entities.” This is precisely the point – Defendants have created a sham system

through which they capture government business to which they are not entitled. It

is not enough to create a “legal” entity; under the 8(a) regulations this entity must

also be separate and distinct. Relators’ Amended Complaint explains that these

entities exist only on paper; they are, in fact, a single operative entity that

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Defendants created and controlled to exploit the 8(a) program. See Am. Compl.,

pp. 15-26.

             3.    The Amended Complaint alleges that Defendants’ 8(a)
                   entities failed to meet the percentage of work requirements
                   under their government contracts.

      Defendants submit that “Relator’s allegation relies entirely on his claim that

Defendants’ subsidiaries could not have performed the percentage of work

required by any contract ‘because Defendants’ 8(a) companies have no employees

at all.’” Am. Br. in Supp. of Mot. to Dismiss, Doc. 39, pp. 16-17. This is correct,

and moreover, it is sufficient to state a plausible claim. Defendants point to the

exhibits attached to the Amended Complaint as evidence of the 8(a) business’

“employees.” As discussed above in § III(A)(1), however, Defendants may not

cherrypick which facts contained in the Complaint it would like the Court to

consider. The facts alleged in the Amended Complaint state that Defendants do not

meet the percentage of work requirements. The attached exhibits demonstrate the

fraudulent paperwork submitted by Defendants, including fraudulent certifications

regarding its 8(a) businesses’ various percentage of work requirements. In fact,

these 8(a) entities have no actual or leased employees to do any of the work,

because they only exist on paper. Am. Compl., p. 24.




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             4.     Defendants falsely certify that their 8(a) entities pursue
                    contracts that will help them grow, develop, and eventually
                    graduate from the program.

      As explained in the Amended Complaint, the government’s objective is that

8(a) entities will grow, develop, and eventually graduate from the 8(a) program.

Am. Compl., pp 17-18. To that end, as further explained in the Complaint, the 8(a)

program requires participants to certify that they will pursue contracts that allow

the 8(a) to grow, develop, and eventually graduate from the program. Id. As the

Complaint clearly alleges, Defendants represent and falsely certify to the

government that their aim is for each 8(a) program to grow, develop, and graduate

from the program, even though the Defendants know that the procured contracts

will inure only to the benefit of the Defendants and not the sham 8(a) entities

which are supposed to be developing and growing. Am. Compl., pp. 17-18, 32, 34,

36, 39, 40. In response to this allegation, Defendants point to their first 8(a)

entity’s alleged growth and graduation from the program as evidence of their

compliance with the growth, development, and graduation requirements as to all

their other 8(a) entities. Am. Br. in Supp. of Mot. to Dismiss, Doc. 39, p. 18. The

inaccuracy of this assertion notwithstanding, at this juncture, all that is before this

Court are the well-pleaded facts of Relator’s Amended Complaint, and not

Defendants’ interpretations of and explanations for those facts.          And as the

Amended Complaint explains, it was upon this first entity’s graduation from the



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program that Defendants began to exploit the 8(a) program by creating sham 8(a)

entities. See Am. Compl., pp. 1, 16-17. Neither the inferences the Defendants

would like the Court to draw from the facts alleged in the Complaint, nor

Defendants’ contesting of the accuracy of these allegations is relevant at this

juncture.

             5.    Defendants listed “placeholder” General Managers for its
                   8(a) entities in its submissions to the government, when in
                   fact those managers work for other divisions and have no
                   knowledge of the 8(a) businesses they “manage.”

        Defendants summarily state that the Amended Complaint does not allege

that the General Managers of its 8(a) entities did not devote the time required

under 8(a) regulations to manage and grow the 8(a) companies.        An ANC 8(a)

business requires a general manager who possesses “sufficient management

experience . . . needed to run the concern,” and “members of the management

team, business committee members, officers, and directors are precluded from

engaging in any outside employment or other business interests which conflict with

the management of the concern or prevent the concern from achieving the

objectives set forth in its business development plan.” 13 C.F.R. §124.109(c)(4)(i),

(ii).

        The Amended Complaint describes in detail the sham nature of the GMs’

involvement in the entities they are purported to oversee. Defendants certify to the

government that each of their 8(a) businesses have general managers in place,

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when in fact those general managers work for other divisions of Defendants, do not

know which 8(a) businesses they oversee, have never been to those business’

“headquarters,” and even no longer work for Defendants. Am. Compl., p. 20; see

also Am. Compl. Ex. 5 (internal message dated March 5, 2013 in which Bernie

Conrow admits that he has “never done anything except sign a few papers” as

“general manager” of 8(a) entity Alutiiq-Mele, and that he knows “that is not the

correct answer.”).

      C.     The Amended Complaint far exceeds                  the    particularity
             requirements of Fed. R. Civ. P. 9(b).

      From their motion to dismiss, Defendants appear to expect Relator to try his

entire case within the four corners of the Amended Complaint. Contrary to the

Defendants’ suggestions, Rule 9(b) of the Federal Rules of Civil Procedure does

not create such a standard. “The purpose of Rule 9(b), as interpreted by Clausen, is

to ensure (1) that an opportunistic relator is unable to tarnish the reputation of [a

government contractor] by instituting a spurious lawsuit and (2) that a minor

deviation from a standard of care does not expand into a quasi-criminal proceeding

in federal court.” United States ex rel. King v. DSE, Inc., No. 8:08-CV-2416-T-

23EAJ, 2011 WL 1884012, at *1 (M.D. Fla. May 17, 2011)(internal citations

omitted).

      The Amended Complaint meets these pleading requirements by clearly

stating simple, concise, and direct allegations of the circumstances constituting the

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fraud (and thus also the submission of false claims), which make relief plausible,

not merely conceivable, when taken as true. See generally United States ex rel.

Grubbs. v. Kanneganti, 565 F.3d 180 (5th Cir. 2009). In other words, Defendants’

deviation from the standard of care is substantial, and this lawsuit is anything but

spurious.

             1.    The Amended Complaint states the who, what, when,
                   where, and why of the fraud.

      In the Amended Complaint, Relator gives a detailed account of Defendants’

fraudulent scheme of making wholesale misrepresentations of Defendants’

eligibility to bid on and procure government contracts through the SBA’s 8(a)

Small Business Development Program, thereby fraudulently obtaining favorable

government contracts and funds which are designated for historically

disadvantaged (and eligible) 8(a) businesses. These allegations satisfy the

requirements of Rule 9(b) because it sets out “the who, what, when, where, and

how of the fraud alleged.” United States ex rel. Saldivar v. Fresenius Med. Care

Holdings, Inc., 906 F. Supp. 2d 1264, 1276 (N.D. Ga. 2012).4




4
 Further, it should be recognized that Defendants—as evidenced by their 32-page
motion to dismiss, much of which disputes the factual basis for Relator’s
allegations — are well aware of the nature of the allegations against it in this case,
and notice is ultimately the purpose of any complaint. See Fed. R. Civ. P. 8.

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                   a.     The Amended Complaint fully describes the “who” of
                          the fraud.

      The Complaint fully explains the corporate structure of Afognak, identifies

Afognak’s eight divisions and fourteen 8(a) small business subsidiaries, fully

explains Afognak’s corporate relationship with Alutiiq, describes the services

which Alutiiq (through Afognak) provides to the government, and details Afognak

NC’s role in fraudulently procuring the government contacts and then submitting

the fraudulent claims for payment to the government. Am. Compl., pp. 2, 4-5, 15-

18.

                   b.     The Amended Complaint fully describes the “what”
                          of the fraud.

      The Complaint contains a comprehensive explanation of the Defendants’

fraudulent scheme to procure government contracts and submit fraudulent claims

for payment. As the Complaint details, the certifications and representations that

Afognak and Alutiiq submit to the government regarding the entities that will

perform the contracted work are all false. Afognak NC’s sham 8(a) entities exist

only on paper, and in no way perform these contracts. In actuality it is the business

divisions within Alutiiq's corporate structure that bid on and perform the

government contracts on a nationwide basis. While the 8(a) companies’ bids name

the General Managers who will be responsible for performing the contract if

awarded, these managers are not aware that the division is submitting a bid to the



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government in the names of their 8(a) companies. It is the Senior Vice Presidents

of these divisions who submit the bids and decide which sham 8(a) will be

included in the paperwork submitted to the government so as to qualify for these

government contracts. The Senior Vice Presidents and their employees oversee and

manage the division’s contracts, and division employees perform the contracts

nationwide. The 8(a) entities exist merely as conduits to obtaining government

contracts that would otherwise only be available to qualified 8(a) small business

entities. Thus, while corporate niceties are observed in communications with the

government, within Afognak NC and Alutiiq there is no pretense concerning the

fictional nature of the 8(a) entities. In the meantime, while Afognak NC and

Alutiiq balloon in size, the government continues to pay these fictional 8(a)

companies as though they were actual Alaska Native small businesses capable of

performance instead of mere placeholders on accounting ledgers. Am. Compl., p. 3

Further, the Amended Complaint even explains in great detail the specific facts

about the sham entities that Defendants misrepresent. Am. Compl., pp. 20-26.




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                   c.    The Amended Complaint fully describes the “when”
                         of the fraud.

      As the Complaint explains, the fraudulent scheme is ongoing and continues

to this day. Further, the Complaint specifically details when the Relator became

concerned that Defendants’ scheme of misrepresenting and falsely certifying that

8(a) business entities were bidding on and performing the awarded government

contracts was in violation of the law and when Relator notified Afognak's Chief

Executive Officer Richard Hobbs of his concerns. Am. Compl., pp. 14-15.

                   d.    The Amended Complaint fully explains the “where”
                         of the fraud.

      The Complaint explains that the fraud was a top-down and company-wide

scheme to misrepresent the eligibility of all of Afognak’s sham 8(a) entities to bid

on 8(a) projects, and that the fraud arose directly from decisions made at the

corporate management level.       The Complaint specifically states where the

Defendants are headquartered, and thus also the location from which the frauds

emanated. Am. Compl., pp. 1-5, 15-23.

                   e.    The Amended Complaint fully describes the “how” of
                         the fraud.

      The Amended Complaint completely details the way in which Defendants

perpetrate the fraud, including the mechanisms in place to hide the true nature of

the sham entities (Am. Compl., pp. 17-18), the way in which contracts are divided

amongst the sham entities (Am. Compl., p. 19), the and benefit to the Defendants

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of fraudulently obtaining these contracts, and how the frauds give rise to

government contracts and thus fraudulent claims.

      In short, Relator’s Complaint meets the Rule 9(b) pleading standard; the

Complaint certainly provides more than enough information to put Defendants on

notice of the allegations against them. In this case, that means that Relator has

actually far exceeded the standards for specificity and detail required by Eleventh

Circuit law and the Federal Rules of Civil Procedure. Eleventh Circuit law is clear

that “Rule 9(b)’s heightened pleading standard may be applied less stringently . . .

when specific factual information about the fraud is peculiarly within the

defendant’s knowledge or control.” Hill v. Morehouse Med. Assocs., Inc., No. 02-

14429, 2003 WL 22019936, at *4 (11th Cir. Aug. 15, 2003). Such is the case here.

      At this stage of litigation, all of these well-pleaded facts must be accepted as

true, and taken together they more than meet the standard of stating a plausible

claim for relief.    Relator has fully complied with Rule 9(b) and afforded

Defendants ample notice of the nature of the allegations against them.

            2.      Defendants’ Specific Criticisms of the Particularity of
                    Relator’s Complaint are Without Merit.

      In addition to the general, shotgun attack on the sufficiency of the Amended

Complaint, Defendants raise specific arguments regarding the sufficiency of the

fraud and conspiracy claims in the Complaint. These arguments also fail.




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                    a.    Relator specifically explains how Defendants were
                          involved in the fraud.

      Defendants argue that Relator’s Complaint should be dismissed because it

fails “to identify how Defendants were involved in the violation of the FCA.” Am.

Br. in Supp. of Mot. to Dismiss, Doc. 39, p. 24. This argument is a little difficult to

follow, but it appears that Defendants are attempting to hide their transgressions

behind their sham 8(a) entities. In other words, Defendants apparently argue that

the Amended Complaint includes allegations against Defendants’ sham entities,

but not the Defendants themselves. This argument is flatly refuted by the plain

language allegations of the Complaint, which plead that Defendants are architects

and participants of the fraud. Am. Compl., p. 15-26. Indeed, the Complaint’s

allegation that the sham entities are in actuality the Defendants, and vice versa, is

the very essence of the fraud.

                    b.    Relator specifically explains how              Defendants’
                          subsidiaries were involved in the fraud.

      Defendants’ argument that Relator’s Amended Complaint fails to identify

“which subsidiaries were not qualified for the program” and “what contracts were

a part of the alleged scheme” is equally as flawed.      This argument misconstrues

the clear allegations of the Complaint.        Relator does not argue that the 8(a)

programs as they were represented to the government were not qualified for the

program. Rather, Relator’s Complaint alleges (and Relator is prepared to prove)



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that the Defendants created a scheme whereby all of its 8(a) entities appear to the

government to be legitimate, when in actuality, all 8(a) entities are actually shams;

that is, they do not actually exist as represented to the government. Relator’s

Complaint specifically shows that all of the 8(a) entities were merely empty

vehicles that Afognak used to capture government contracts for which it was not

qualified. Am. Compl. pp. 15-26. As such, every 8(a) contract procured by these

sham entities is a part of the scheme.

                   c.     Relator’s allegations are consistent            with   the
                          documents attached to the Complaint.

      As demonstrated supra at § III(A), this argument is improper at this time.

This argument asks the Court to dismiss the Amended Complaint based on

Defendants’ selective reading of its own fraudulent documents, extracting only

those assertions from the documents which, when taken out of context, can be

misread to support Defendants’ position. In truth, the documents, taken as a

whole, demonstrate the pervasiveness of the fraud and the accuracy of the

allegations of the Complaint.

                   d.     Defendants’    Arguments      Misread     and   Misapply
                          Clausen.

      Citing the Eleventh Circuit’s Clausen opinion, Defendants argue that

Relator’s Amended Complaint fails for failing to “identify a single false claim or

invoice presented to the government . . . .” See United States ex rel. Clausen v.



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Lab. Corp. of America, Inc., 290 F.3d 1301 (11th Cir. 2002). This argument

misreads Clausen and the requirements in the Eleventh Circuit for pleading the

submission of false claims.

      The Eleventh Circuit's subsequent cases make clear “that a somewhat more

flexible, case-by-case approach to Clausen’s principles may be properly applied

where the relator’s complaint provides other ‘indicia of reliability’ that support the

relator's belief and allegations that the defendant submitted actual fraudulent

claims to the government.” United States ex rel. Saldivar v. Fresenius Med. Care

Holdings, Inc., 906 F. Supp. 2d 1264, 1276-77 (N.D. Ga. 2012); see also Cade v.

Progressive Cmty. Healthcare, Inc., No. 1:09–CV–3522–WSD, 2011 WL

2837648, at *3–7 (N.D. Ga. July 14, 2011) (collecting and synthesizing Eleventh

Circuit qui tam pleading cases); United States ex rel. Walker v. R & F Props. of

Lake County, Inc., 433 F.3d 1349, 1359–60 (11th Cir. 2005) (in which the

Eleventh Circuit found that the relator’s complaint properly survived dismissal

where the relator’s allegations were based on her personal employment experience

within defendant’s medical practice and her conversations with the office

administrator); United States ex rel. Matheny v. Medco Health Solutions, Inc., 671

F.3d 1217, 1230 (11th Cir. 2012) (“[W]e are more tolerant toward complaints that

leave out some particularities of the submissions of a false claim if the complaint

also alleges personal knowledge or participation in the fraudulent conduct.”)



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      In United States ex rel. King v. DSE, Inc., No. 8:08–CV–2416–T–23EAJ,

2011 WL 1884012 (M.D. Fla. May 17, 2011), the relator alleged that the defendant

violated the False Claims Act by certifying the grenades manufactured for the

military met the government’s specifications. Id. at *1. The defendant moved to

dismiss, arguing the complaint failed to meet the Clausen pleading standard. The

court disagreed, finding that where relator’s knowledge of the falsity of the

defendant’s certification that defendant’s manufactured items complied with

contract specifications was based upon his own knowledge and involvement in the

manufacturing process, the complaint allegations afforded the requisite reliability

to support the relator’s False Claims Act claims.        Id. at *1-3.   The court

specifically noted the flaw in applying the defendant’s proposed reading of

Clausen:

      Clausen holds that a relator asserting a claim for health care fraud
      must allege with specificity a claim or bill submitted to the
      government. In other words, a relator who is aware of an improper,
      inferior, or bogus medical product or service cannot sustain a False
      Claims Act action without alleging a particular bill sent to, and paid
      by, the government…. In other words, in the medical context the harm
      to the government arises from the act of billing. If a patient received
      improper treatment but the government was not billed, the
      government suffers no actionable consequence (under the FCA). The
      government may have an interest in enforcing FDA regulations or
      ensuring that a doctor provides proper medical care, but sloppy
      recordkeeping or substandard treatment harms no pecuniary interest of
      the government absent a billing. By contrast, improper quality control
      procedures in assembling military equipment distinctly harm the
      government entirely distinct from any financial impact.



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Id. at *1-2. Here, just as in King, Relator pleads in great detail the scheme by

which Defendants falsely certify compliance with government requirements in

conjunction with the submission of claims to the government. Further, courts have

consistently held that the government is damaged, and that a violation of the False

Claims Act occurs, where a company falsely certifies its eligibility to participate in

a government program. See, e.g. United States ex rel. Longhi v. United States 575

F.3d 458, 473 (5th Cir. 2009) (“The Government’s benefit of the bargain was to

award money to eligible deserving small businesses”); see also Williams v. C

Martin Co. Inc., No. CIV.A. 07-6592, 2014 WL 1652438, at *4 (E.D. La. Apr. 24,

2014) (in which the court held that a where a misrepresentation is material to the

government’s decision to award a contract, the misrepresentation gives rise to a

False Claims Act claim.)

      Courts in other circuits have consistently reached the same conclusion. For

example, in United States ex rel. Sansbury v. LB & B Associates, Inc., No. CV 07-

251 (EGS), 2014 WL 3509789, (D.D.C. July 16, 2014), much like in the present

case, the government and relator alleged that the defendant had fraudulently

misrepresented its eligibility to participate in the 8(a) program. Id. at *4. Just like

this case, the defendants moved for dismissal under Rule 9(b), arguing that the

complaint failed “to sufficiently identify what was given up as a consequence of

the fraud” and did not “identify a single specific false claim or invoice for payment



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or the date(s) or cost(s) of any such claim.” Id. at * 14. The court rejected this

argument, and noted that the narrow reading of Rule 9(b) proposed by the

defendants -- and also argued by the Defendants in the case before this Court --

would “eviscerate” the standard intended by Rules 8 and 9(b):

      Most importantly, Rule 9(b)’s particularity requirement must be read
      in concert with Rule 8, which requires only that a complaint contain a
      “short and plain statement” of the claim. Defendants’ narrow reading
      of Rule 9(b) would essentially eviscerate this standard and require
      claimants to provide detailed proof of their allegations at this early
      stage in the litigation. That is simply not what is required on a motion
      to dismiss pursuant to Rule 9(b). Rather, at this stage in the litigation,
      an FCA “plaintiff need not allege with specificity every element of its
      cause of action if the complaint contains allegations from which an
      inference may be drawn that the plaintiff will produce evidence on the
      essential elements.” Indeed, the language of Rule 9(b) makes clear
      that particularity must be pled only with respect to the circumstances
      constituting fraud. This is especially true where, as here, the
      Government’s FCA claims are based on a fraudulent “scheme,” in
      which the circumstances make it likely that the alleged fraud was
      “consummated through the presentment of false claims.

United States ex rel. Sansbury v. LB & B Associates, Inc., No. CV 07-251 (EGS),

2014 WL 3509789, at *13 (D.D.C. July 16, 2014)(internal citations and quotations

omitted).

      Using this strained reading of Clausen, Defendants argue that because the

Complaint does not allege that Relator ever observed Defendants’ submission of

claims for payment pursuant to the fraudulently procured 8(a) contracts, Relator’s

claims fail unless Relator’s claims contain other indicia of reliability. Am. Br. in

Supp. of Mot. to Dismiss, Doc. 39, p. 29. Notwithstanding the legal error in this

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argument noted above, even under Defendants’ line of thinking, Relator’s

Amended Complaint is still nonetheless sufficient because it contains extensive

indicia of reliability of the very type that the Eleventh Circuit has found persuasive

in the past.

       For example, just like the relator Walker, in this case, Relator’s allegations

are based on his personal employment experience and his direct conversations with

the people responsible for making the decisions regarding the submission of the

fraudulent claims. See Walker, 433 F.3d at 1359-60.

       Defendants refer the Court to two cases that according to Defendants contain

similar allegations to this case: United States ex rel. Wilson v. Crestwood

Healthcare, L.P., No. CV-11-S-3361-NE, 2012 WL 1886531 (N.D. Ala. May 18,

2012) and Atkins v. McInteer, 470 F.3d 1350 (11th Cir. 2006). However, a cursory

review of those cases reveals that they bear almost no similarity to the present

matter.

       In neither case was the relator a corporate insider or even an employee of the

defendant company. In Wilson, for example, relator was simply a development

company from whom the defendant company leased property.             Id. at *2. The

relator’s False Claims Act violations, which the court ultimately found to be

wanting, arose from a sublease agreement the defendant and various physicians

with whom the relator had no connection.         Id.   Indeed, in distinguishing the



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allegations in the Wilson complaint from the Eleventh Circuit’s Walker and

Matheny decisions, the court reasoned:

      The differences between the specificity of the allegations in Walker
      and Matheny, on the one hand, and the case at bar, on the other, are
      striking. Perhaps most salient is the fact that, here, relator is a
      corporate outsider, while in those cases the relators were former
      employees of the defendants. There is no requirement that a relator be
      an employee or former employee, and the Eleventh Circuit has
      recognized the difficulty an outsider faces in satisfying Rule 9(b). See
      Clausen, 290 F.3d at 1314 (“We are not unsympathetic to the situation
      in which Clausen finds himself. Most relators in qui tam actions are
      insiders. As a corporate outsider, he may have had to work hard to
      learn the details of the alleged schemes....”). Nonetheless, a relator, be
      he an insider or an outsider, still must be able to state the “who,”
      “what,” “where,” “when,” and “how” of claims filed with the
      government. Corsello, 428 F.3d at 1014. See also Clausen, 290 F.3d
      at 1314 (stating that the pleading standard is not relaxed for corporate
      outsiders). Of more legal significance than their status as insiders, the
      relators in Walker and Matheny alleged specific details about the
      filing of fraudulent claims. Relator's bare assertion that claims were
      filed, and that the Crestwood CFO told him that there were fraudulent
      claims, does not meet that standard.

Wilson, 2012 WL 1886351 at *10.          Here, like Walker, and unlike Wilson and

McInteer, Relator is a corporate insider who has with great specificity plead the

“who, what, when, where and why” of the Defendants’ false claims. As such,

Relator’s Complaint contains substantial indicia of reliability.

             3.    The Amended Complaint pleads conspiracy with the
                   requisite particularity.

      A person who “conspires to defraud the government by getting a false or

fraudulent claim allowed or paid” is subject to FCA liability. 31 U.S.C. §



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3729(a)(3). To sustain a conspiracy cause of action under the FCA, Relator must

be able to show (1) the existence of an unlawful agreement between defendants to

get a false or fraudulent claim allowed or paid by the United States and (2) at least

one act performed in furtherance of that agreement. See United States ex rel.

Graves v. ITT Educ. Servs., Inc., 284 F. Supp. 2d 487, 509 (S.D. Tex. 2003). Here,

Relator has pleaded and fully explained the conspiracy between Afognak and

Alutiiq to defraud the government regarding the sham 8(a) entities. Amended

Compl. at pp. 28-29.

IV.   Should Court find any of the Complaint deficient, Relator should be
      allowed to amend to correct the deficiency.

      As demonstrated above, Relator’s Amended Complaint exceeds the

requirements for pleading False Claims Act claims under Eleventh Circuit law and

the Federal Rules of Civil Procedure. However, should the Court determine that

the pleading requirements are not met, Relator would request leave to file a Second

Amended Complaint further detailing the information in his possession. Under

Federal Rules of Civil Procedure Rule 15(a)(2), leave to amend should be freely

given when justice so requires. Defendants provide no valid reason why leave to

amend should not be given to Relator, nor have Defendants demonstrated how

granting Relator such leave would prejudice Defendants in any way.




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V.    CONCLUSION

      Because Relator has stated a colorable False Claims Act case with the

specificity required by the Rules of Civil Procedure, Defendants’ Motion to

Dismiss should be denied.


Dated: December 1, 2014


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                       CERTIFICATE OF SERVICE

      I hereby certify that on December 1, 2014, I filed the foregoing using the

CM/ECF document filing system which serve a copy on all counsel of record.



                              s/ Oscar M. Price IV           _
                              Oscar M. Price IV (ASB-6501-O71P)




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